934 F.2d 318Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Bruce Andrew AINSLEY, Petitioner-Appellant,v.D. SMITH, Warden, Attorney General of the Commonwealth ofVirginia, Respondents-Appellees.
    No. 91-6033.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 6, 1991.Decided May 28, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  Richard L. Williams, District Judge.  (CA-90-491-3)
      Bruce Andrew Ainsley, appellant pro se.
      Robert Quentin Harris, Assistant Attorney General, Richmond, Va., for appellees.
      E.D.Va.
      DISMISSED.
      Before DONALD RUSSELL, WILKINSON and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Bruce Andrew Ainsley noted this appeal outside the 30-day appeal period established by Fed.R.App.P. 4(a)(1), and failed to move for an extension of the appeal period within the additional 30-day period provided by Fed.R.App.P. 4(a)(5).  The time periods established by Fed.R.App.P. 4 are "mandatory and jurisdictional."    Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.  We therefore dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    